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                                         April 19, 2019

 VIA ECF

 Honorable Lois H. Goodman
 Magistrate Judge for the United States
 District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:      Donald Hager v. CitiMortgage, Inc., et al.
                 Case No. 3:16-cv-03348-FLW-LHG



 Dear Judge Goodman:

         We represent Defendants Selene Finance LP and Wilmington Savings Fund Society,
 FSB D/B/A Christiana Trust, Not Individually but as Trustee for Pretium Mortgage Acquisition
 Trust (“Defendants”) in the above-referenced matter.

         Defendants respectfully request permission for Maryia Y. Jones who is admitted pro hac
 vice to attend the telephone conference scheduled for April 29, 2019 at 3:00 P.M., without the
 undersigned, as the undersigned will be traveling to Texas for business during the scheduled
 call. Defendants make this request to keep the call, as scheduled, but with Maryia Y. Jones
 appearing without the undersigned.

        We thank Your Honor for your consideration of this matter.


                                                 Respectfully Submitted,

                                                 /s/ Amanda Lyn Genovese

                                                 Amanda Lyn Genovese

 cc:    Joshua Denbeaux (via ECF)
